                                      CASE 0:22-mj-00362-JFD Doc. 5 Filed 05/02/22 Page 1 of 1

                                                IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE DISTRICT OF MINNESOTA

                                                    INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                    )           COURTROOM MINUTES - CRIMINAL
                                                             )             BEFORE: JOHN F. DOCHERTY
                                       Plaintiff,            )                 U.S. Magistrate Judge
                                                             )
   v.                                                        )    Case No:            22-mj-362 JFD
                                                             )    Date:               May 2, 2022
Desmond Durelle Graham,                                      )    Video Conference
                                                             )    Time Commenced:     1:26 p.m.
                                       Defendant,            )    Time Concluded:     1:36 p.m.
                                                                  Time in Court:      10 minutes


APPEARANCES:

   Plaintiff: Benjamin Bejar, Assistant U.S. Attorney
   Defendant: Doug Micko and Robert Meyers, Assistant Federal Public Defender
                         X FPD           X To be appointed

   Date Charges Filed: 5/2/2022                     Offense: carjacking; kidnapping

   X Advised of Rights

on          X Complaint

X Government moves for detention.
Motion is X granted, temporary detention ordered


Next appearance date is May 4, 2022 at 11:00 a.m. via video conference before U.S. Magistrate Judge John F.
Docherty for:
 X Detention hrg        X Preliminary hrg


Additional Information:
X Defendant consents to this hearing via video conference.
X Oral Rule5(f) Brady notice read on the record.
                                                                                                 s/SAE
                                                                                               Signature of Courtroom Deputy




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